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MANDATE
                           UNITED STATES COURT OF APPEALS
                                      FOR THE
                                   SECOND CIRCUIT

             At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
     Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
     1st day of August, two thousand twenty-two.

     Before:     Debra Ann Livingston,
                        Chief Judge,
                 José A. Cabranes,
                 Barrington D. Parker,
                        Circuit Judges.
     ________________________________

      Todd C. Bank, individually and on behalf of
      all others similarly situated,                             ORDER

                   Plaintiff - Appellant,                        Docket No. 15-2391

      v.

      Independence Energy Group LLC, Independence
      Energy Alliance LLC,

                Defendants - Appellees.
      ________________________________

             This appeal was orally argued on March 2, 2016. On March 7, 2016, Appellant Bank
     moved to stay the appeal pending the Federal Communications Commission (FCC)
     determination of a petition he filed seeking a declaratory ruling regarding the term “residential
     telephone line.” At the Court’s direction, the FCC filed an amicus brief in which it similarly
     stated that the appeal should be held in abeyance pending the FCC’s determination. On October
     1, 2020 and April 18, 2022, the Court sought status updates from the parties. As recently as
     April 29, 2022, the Court was advised that the proceeding remains pending at the FCC.

             IT IS HEREBY ORDERED, that this appeal is dismissed, not on the merits. Either party
     may reinstate the appeal by a letter addressed to the Clerk. The letter must be filed within 30
     days of the FCC determination of In re: Bank, FCC, Docket No. 02-278. If reinstated, the appeal
     shall be referred to this panel.

                                                         For the Court:

                                                         Catherine O’Hagan Wolfe,
                                                         Clerk of Court




MANDATE ISSUED ON 09/27/2022
